
McAdam, J.
The decision in Griggs v. Guinn, 21 N. Y. Supp. 451, applies only to trials before referees. This action was tried at the special term of the court, and the stenographer’s minutes were required in order to aid the court in reaching a decision. Section 289 of the Code covers the case. It authorizes the court to direct that one-half the expense be paid by each of the parties, and the amount so paid by compulsory order becomes a necessary disbursement. The order may be made at the trial or at any time afterwards. Abendroth v. Man. Railroad Co., 9 Civ. Pro. R. 406. The case cited is directly in point, and will be followed. The order there will be granted here, to the end that the stenographer’s fees be taxed as a disbursement.
